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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


BRUCE MITCHELL NICHOLSON,

                                      Plaintiff,                        5:18-CV-1147 (BKS/ATB)

v.

CORNELIUS HARRIS, JR., et al.,
                                      Defendants.


Appearances:

Bruce Mitchell Nicholson
91206
Talladega County Jail
P.O. Box B
Talladega, AL 35161
Plaintiff, pro se

Hon. Brenda K. Sannes, United States District Judge:

                         MEMORANDUM-DECISION AND ORDER

       Plaintiff Bruce Mitchell Nicholson commenced this action on September 24, 2018, on a

form complaint seeking relief under Bivens. (Dkt. No. 1). This matter was assigned to United

States Magistrate Judge Andrew T. Baxter who, on November 29, 2018, issued a Report-

Recommendation recommending that the complaint be dismissed in its entirety without

opportunity to amend, and without prejudice. (Dkt. No. 11). Magistrate Judge Baxter advised the

plaintiff that under 28 U.S.C. § 636(b)(1), he had fourteen days within which to file written

objections to the report, and that the failure to object to the report within fourteen days would

preclude appellate review. (Dkt. No. 11, at 11). No objections to the Report-Recommendation

have been filed.
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        As no objections to the Report-Recommendation have been filed, and the time for filing

objections has expired, the Court reviews the Report-Recommendation for clear error. See

Petersen v. Astrue, 2 F. Supp. 3d 223, 228–29 (N.D.N.Y. 2012); Fed. R. Civ. P. 72(b) advisory

committee’s note to 1983 amendment. Having reviewed the Report-Recommendation for clear

error and found none, the Court adopts the Report-Recommendation in its entirety.

        For these reasons, it is

        ORDERED that the Report-Recommendation (Dkt. No. 11) is ADOPTED in its

entirety; and it is further

        ORDERED that the complaint (Dkt. No. 1) is DISMISSED in its entirety without

prejudice and without opportunity to amend; and it is further

        ORDERED that the Clerk serve a copy of this Order upon the plaintiff in accordance

with the Local Rules.

        IT IS SO ORDERED.




Dated: February 19, 2019
       Syracuse, New York




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